                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
                      Plaintiff,
              -vs-
                                                         Case No. 11-CR-127
AARON MOESER,
JOSEPH BOWLES,
and MICHAEL WOYAN,
                      Defendants.

                               DECISION AND ORDER



       Aaron Moeser was a commercial loan officer at State Financial Bank (“SFB”)

from 2000 through 2007.        In 2011, Moeser was charged, along with four other

individuals, with participating in a bank fraud scheme in relation to a $790,000

construction loan. Moeser, like all of his co-defendants, eventually pled guilty to one

count of conspiracy to commit bank fraud. On March 27, 2013, the Court sentenced

Moeser to two years of probation, but held open the issue of restitution pending further

written briefing. The government is pursuing $625,544.01 in restitution – $480,000

for the bank, with the remaining losses claimed by various subcontractors who have

not been paid for their work. Moeser‟s co-defendants have already been sentenced and

either are, or will be, subject to joint and several restitution orders. For the reasons

that follow, Moeser‟s argument that his restitution order should be limited to

$23,048.43 is without merit.


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       In September of 2004, Moeser prepared and submitted a credit approval

presentation for Michael Woyan, d/b/a People‟s Action Redevelopment Coalition

(“PARC”) to construct a new five-unit community redevelopment project at 5th and

Arthur in Milwaukee, Wisconsin. Senior bank officials approved the loan, which was

the type that financial institutions were encouraged to fund as part of the Community

Reinvestment Act. After approval but prior to closing, Moeser learned that Woyan did

not have ownership of the real property which was to be used for the project and did

not have the financial ability to purchase it. Moeser offered to lend the purchase price

of $30,500 to Woyan. Both men understood that the funds would be repaid by Woyan

with monies taken from the first draw of the SFB construction loan. Bank officials

later stated that the loan would not have been approved if they knew about Moeser‟s

personal loan to Woyan.

       After closing, the project commenced, and Woyan used the initial

disbursements to re-pay Moeser, plus $15,000 in interest ($45,500.00 total). Between

November 4, 2004 and September 14, 2005, there were fifteen draw requests, all

subject to Moeser‟s approval. Moeser approved the final draw, falsely representing

that the project was nearly 100% complete. At this point, Moeser knew that Woyan

had used some of the funds for other purposes, including salaries for PARC employees

who were developing a different project, a 24-unit project known as Lighting the Way

on Milwaukee‟s North Side. Nonetheless, Moeser approved the draw, instructing

Woyan to continue funding the Lighting the Way project instead of the 5th and Arthur

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project.

           Associated Bank, SFB‟s successor-in-interest, eventually foreclosed on the 5th

and Arthur property. A physical inspection revealed that the project was 40-45%

complete and would require an additional $375,000 to $400,000 to finish. The bank

sold the unfinished property for $300,000.

           The government seeks restitution pursuant to the Mandatory Victim Restitution

Act (“MVRA”), 18 U.S.C. § 3663A. The MVRA provides that, for certain crimes,

courts “shall order . . . that the defendant make restitution to the victim of the offense.”

§ 3663A(a)(1). The MVRA defines “victim” as “a person directly and proximately

harmed as a result of the commission of an offense for which restitution may be

ordered including, in the case of an offense that involves as an element a scheme,

conspiracy, or pattern of criminal activity, any person directly harmed by the

defendant‟s criminal conduct in the course of the scheme, conspiracy, or pattern.” §

3663A(a)(2).

           Strangely, Moeser concedes that the bank is a “victim” under the MVRA, but

argues that he should not be held liable for the full extent of the bank‟s loss because

various intervening factors caused the loss after the initial fraudulent loan and before

the final draw. The MVRA does not impose a “proximate cause” limitation on the

amount of restitution that can be ordered once a person or other entity is found to be a

“victim” for purposes of the Act. Rather, a victim is defined as a person who was

directly and proximately harmed by the defendant‟s offense.

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        To the extent that Moeser may actually be arguing that the bank is not a victim

under the MVRA, his argument boils down to the contention that the actions of his co-

conspirators pursuant to the scheme to defraud were unforeseeable intervening factors

that harmed the bank. To be sure, intervening causes are relevant to the proximate

harm analysis. See, e.g., United States v. Speakman, 594 F.3d 1165, 1172 (10th Cir.

2010) (“for the purposes of determining if an individual is a „victim‟ under the MVRA,

an individual will be „proximately harmed as a result of‟ the defendant‟s crime if either

there are no intervening causes, or, if there are any such causes, if those causes are

directly related to the defendant‟s offense”). However, it is a step too far to suggest

that the actions of a defendant‟s co-conspirators pursuant to a scheme to defraud can

be considered intervening factors to show that a person was not directly and

proximately harmed by that defendant. The MVRA “authorizes restitution for all harm

caused by „the defendant‟s criminal conduct in the course of the scheme, conspiracy,

or pattern,‟ provided the defendant is convicted of an offense that has at least one of

those features.” United States v. Martin, 195 F.3d 961, 969 (7th Cir. 1999). This

language “imposes joint liability on all participants in the scheme, conspiracy, or

pattern.” Id.; see also United States v. Dokich, 614 F.3d 314, 318 (7th Cir. 2010) (“the

MVRA imposes joint liability on all defendants for loss caused by others participating

in the scheme”); United States v. Dickerson, 370 F.3d 1330, 1339 (11th Cir. 2004)

(collecting cases).

        Accordingly, while Moeser argues that he cannot be held liable for the actions

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of his co-defendants, in reality, the exact opposite is true with respect to persons who

are “directly harmed” by Moeser‟s “criminal conduct in the course of the scheme,

conspiracy, or pattern.” § 3663A(a)(2). In this context, the term “direct” or “directly”

requires that “the harm to the victim be closely related to the scheme, rather than

tangentially linked.” United States v. Kones, 77 F.3d 66, 70 (3d Cir. 1996); see also

United States v. Karam, 201 F.3d 320, 325-26 (4th Cir. 2000) (“Federal courts may

order restitution encompassing losses resulting from a criminal scheme regardless of

whether the defendant is convicted for each criminal act within the scheme, so long as

the loss is a direct result of the defendant‟s criminal conduct or is closely related to the

scheme”) (internal citations omitted).1 Here, the harm suffered by the bank and the

unpaid subcontractors was directly and closely related to the underlying scheme to

defraud.    Further, the phrase “defendant‟s criminal conduct in the course of the

scheme, conspiracy or pattern” means “conduct that is both engaged in the furtherance

of the scheme, conspiracy or pattern, and proscribed by the criminal statute the

defendant was convicted of violating.” Kones, 77 F.3d at 70. Quite clearly, Moeser‟s

conduct was in furtherance of the bank fraud scheme and in violation of 18 U.S.C. §

1344.

        Finally, Moeser asks the Court to apportion liability to reflect a lower level of

culpability. 18 U.S.C. § 3664(h) (“If the court finds that more than 1 defendant has


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         These cases interpreted the MVRA‟s predecessor statute, the Victim Witness and Protection
Act, but relevant statutory language is identical. United States v. Coats, 487 B.R. 648, 653 n.4
(E.D.N.C. 2013).
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contributed to the loss of a victim, the court may make each defendant liable for

payment of the full amount of restitution or may apportion liability among the

defendants to reflect the level of contribution to the victim‟s loss and economic

circumstances of each defendant”). The Court rejects Moeser‟s attempt to distance

himself from the actions of his co-conspirators. Moeser knew that Woyan had limited

financial resources and was willing to misrepresent his equity position to obtain a loan.

Moeser knew or should have known that Woyan would be willing to use loan funds for

purposes unrelated to the construction project, especially since Woyan used the initial

loan proceeds to re-pay Moeser‟s personal loan, plus interest. Moeser also approved

the final draw on the loan knowing that the funds would be used on a separate project.

Moeser fully contributed to the loss of the bank and to the losses of the unpaid

subcontractors.

       NOW THEREFORE, BASED ON THE FOREGOING, IT IS HEREBY

ORDERED THAT:

       1.     Moeser must pay restitution in the total amount of $625,544.01, joint

and several with Roderick Taylor, Joseph Bowles, and Michael Woyan, at a rate of not

less than $200.00 per month. The amount due to Associated Bank is joint and several

with Leopaldo Balderas, Jr.;

       2.     Bowles must pay restitution in the total amount of $625,544.01, at a rate

of not less than $200.00 per month, joint and several as noted above;

       3.     The judgment against Woyan will be amended to reflect the corrected

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total amount of $625,544.01, joint and several as noted above; and

       4.     The Clerk of Court is directed to enter judgment accordingly.

       Dated at Milwaukee, Wisconsin, this 22nd day of November, 2013.



                                                 BY THE COURT:


                                                 __________________________
                                                 HON. RUDOLPH T. RANDA
                                                 U.S. District Judge




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